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                                            No. 14-1190 C

This Opinion Will Not Be Published in the U.S. Court of Federal Claims Reporter Because              It
                      Does Not Add Significantly to the Body of Law'

                                      (Filed:   December 12,2014)                         FILED
                                                                                         DEC   12   2014
 BRYAN O, CRANE,
                                                                                       I],S. COURT OF
                         Plaintiff,                                                   FEDEF]AL CLAIMS




 THE TNITED STATES,

                         Defendant.




                                        OPINION and ORDER


        On December 10,2014, plaintiff, Bryan O. Crane, filed a complaint asserting that the
Federal Employees' compensation Act (FECA), and the administration thereof by the United
States Department ofLabor, violated plaintiffs rights to due process and equal protection under
the Unitea States Constitution. In his complaint, plaintiff asserted that the govemment personnel
assigrred to administer FECA are "lawless, corrupt, arrogant, and    abusive." In addition, plaintiff
u$".t"d thut th" Department ofLabor's Office of Inspector General has failed to pursue criminal
activity and serious misconduct on the part of Department of Labor personnel, in particular
subjeciing plaintiff to "extreme physical, financial, and mental abuse." Plaintiff contends that he
is entitled t-o various damages, including mental, physical and emotional damages in the amount of
$ 100 million.


          This court is solemnly obliged to address obvious questions conceming its subject matter
jurisdiction. See Mitchell v. Maurer,293 U.S. 237,244 (1934). This court recognizes.that
pluitttiff ir acting pro se before this court, and thus the court will hold the form of plaintiffs
 submissions to i less stringent standard than those drafted by an attorney. See Reed v United
  states.z3 Cl. Ct. 51?, 521 (1991) (citing Estelle v. Gamble,429 U.S. 97 (1976)). Having
 reviewed plaintiffs complaint, the court is certain that it lacks jurisdiction to consider the claims
that plaintiff raises.
           Case 1:14-cv-01190-FMA Document 3 Filed 12/12/14 Page 2 of 2




         With very limited exceptions, the jurisdictional statutes goveming the United States Court
ofFederal Claims grant authority to the court only to issuejudgments for money against the United
States and then, only when they are grounded in a contract, a money-mandating statute, or the
takings clause of the Fifth Amendment. See United States v. Testan,424 U.5.392,397'98
(1976);28 U.S.C. $ 1a91(a)(1). This court lacks jurisdiction over claims predicated upon the
 Fourth Amendment, the Fifth Amendment's Due Process Clause, as well as the Fourteenth
Amendment. SeeCollinsv. tJnited States,67 F.3d284,288 (Fed. Cir. 1995); Roberson v. United
 States, 115 Fed. Cl. 234, 240 (2014); Hanford v. United States,63 Fed. Cl. 1 1 l, I l9 (2004); aff'd,
 l54F.App'x216(Fed.Cir.2005),cert.denied,549U.S. l34l(200'1). Nordoesthiscourthave
jurisdiction over claims predicated upon the Equal Protection clause of the Fifth and Fourteenth
Amendments. See LeBlanc v. United States,so F.3d 1025, 1028 (Fed. Cir. 1995); Scrase v'
 UnitedStates,ll8 Fed. C\.35'7,361-62(2014);Jironv. UnitedStates,ll8 Fed. Cl. 190' 199
 (2014). Finally, to the extent that plaintiffs claims sound in tort, this court also lacks jurisdiction.
See 28 U.S.C. $ l49l(a)(l); -riron, 118 Fed. Cl. at 200; Zhao v. United States, 91 Fed' Cl' 95'
99-100 (2010).

         Having reviewed the remainder of plaintiff s complaint, the court does not believe that it
has jurisdiction over the remainder ofplaintiffs claims. Accordingly, the Clerk shall dismiss
plaintiff s complaint for Iack of iurisdiction.

        IT IS SO ORDERED.

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